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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OKLAHOMA

    UNITED STATES OF AMERICA, and       )
    THE OSAGE MINERALS COUNCIL,         )
                                        )
                Plaintiffs,             )
                                        )
    vs.                                 )    Case No. 14-CV-704-GKF-JFJ
                                        )
    OSAGE WIND, LLC;                    )
    ENEL KANSAS, LLC; and               )
    ENEL GREEN POWER NORTH              )
    AMERICA, INC.,                      )
                                        )
                Defendants.             )

                DEFENDANTS’ MOTION TO EXCLUDE THE TESTIMONY
                OF PLAINTIFF THE UNITED STATES’ EXPERT WITNESS
                 STEVEN J. HAZEL AND OPENING BRIEF IN SUPPORT




                              EXHIBIT 2
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      1              IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OKLAHOMA
      2
           UNITED STATES OF AMERICA,
      3
                        Plaintiff,
      4
           and
      5
           OSAGE MINERALS COUNCIL,
      6
                        Intervenor-Plaintiff,
      7
           vs                            No. 14-CV-704-GKF-JFJ
      8
           OSAGE WIND, LLC,
      9    ENEL KANSAS, LLC;
           and ENEL GREEN POWER
     10    NORTH AMERICA, INC.,

     11                 Defendants.

     12             VIDEOTAPED    DEPOSITION OF STEVEN HAZEL
                      Taken on    Behalf of the Defendants
     13           On April 29,    2021, beginning at 10:05 a.m.
                   All Parties    Appearing Via Webconference
     14
                               APPEARANCES
     15    Appearing on behalf of the PLAINTIFF:
           Stuart Ashworth
     16    Cathryn McClanahan
           UNITED STATES ATTORNEY'S OFFICE
     17    NORTHERN DISTRICT OF OKLAHOMA
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           and
     20    Charles R. Babst, Jr.
           UNITED STATES DEPARTMENT OF THE INTERIOR
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     24             Appearances Continued on Next Page
           VIDEOTAPED BY: STESHA SNOW
     25    REPORTED BY: MARY K. BECKHAM, CSR, RPR
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      1          Q      All right.     And tell us what you do in

      2    that role.

      3          A      Well, broadly, I guess I'm responsible, is

      4    the word I would use, for various different people

      5    directly, work in broader teams on other different

      6    matters, but, generally, I'm the person responsible

      7    for the final product and, potentially, testifying.

      8          Q      Is testifying as an expert witness your

      9    primary work?

     10          A      No.

     11          Q      What is your primary work?

     12          A      I mean, most people would consider me a

     13    forensic accountant.        So I do, you know, various

     14    different things in the capacity as a forensic

     15    accountant.

     16          Q      Testifying as an expert is one of them,

     17    correct?

     18          A      True.

     19          Q      What percentage of your time would you

     20    estimate you devote to testifying as an expert

     21    witness?

     22          A      Well, I mean, I guess it depends on how

     23    you define that, but if you're talking about

     24    specifically in a testifying capacity, it's

     25    probably, I don't know, ten hours a month.
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      1          Q      And what about preparing expert reports?

      2    By way of example, how often do you do that?

      3          A      Are you talking about expert reports in

      4    the capacity of litigation, or are you talking about

      5    expert reports generally?

      6          Q      We'll first start with litigation.

      7          A      I mean, it changes over time.          I would say

      8    it's probably 75 percent is in the form of

      9    litigation at this point.

     10          Q      And do you also do work on occasion as a

     11    non-testifying expert?

     12          A      Yes.

     13          Q      And tell us broadly what that usually

     14    entails.

     15          A      Well, first of all, there could be a

     16    consulting role, which I was actually including kind

     17    of within the litigation environment, but then

     18    there's also roles where we're just doing either

     19    valuation work, for example, or tax analysis,

     20    something like that.        That would be outside of the

     21    litigation environment, either prior to any

     22    litigation commencing or some type of traditional

     23    purpose, like financial reporting or a tax related

     24    valuation, something like that.

     25          Q      Have you ever prior to this case been
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      1    involved in a litigation matter involving wind

      2    energy?

      3          A      I believe there was -- yes.

      4          Q      All right.     When was that, sir?

      5          A      It's been a while ago.        It's been -- I

      6    would guess it's probably around 15 years ago.

      7          Q      Do you recall the court in which that was

      8    pending?

      9          A      No.

     10          Q      Do you recall the state it was in?

     11          A      I don't remember where the court state

     12    was, but the project was in Wyoming.

     13          Q      And what was the litigation about, if you

     14    recall?

     15          A      It was about some construction cost

     16    overruns.

     17          Q      All right.     And do you recall any of the

     18    parties to the case?

     19          A      No.

     20          Q      Do you recall any of the lawyers?

     21          A      I can't think of who was involved with

     22    that case.     It's been a long time ago.

     23          Q      And what subject matter were you

     24    testifying on in that case?

     25          A      Related to the potential cost overruns of
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      1    the project.      And I didn't testify, just so we're

      2    clear, but it was related to the overall

      3    construction costs of the project.

      4          Q      All right.     Were you retained as an expert

      5    witness for one of the parties?

      6          A      Yes.

      7          Q      All right.     Were you estimating the cost

      8    overruns for which party, if you recall?

      9          A      My remembrance is we were working for the

     10    owner.

     11          Q      The owner of the project?

     12          A      Correct.    Sorry, my phone rang on my other

     13    line.     I apologize.

     14          Q      No, that's okay.      All right.      And it was a

     15    dispute with whom?       Was it the contractor or --

     16          A      Correct.

     17          Q      Okay.    So were you attempting to value

     18    the -- what these construction cost overruns would

     19    cost?     Was that your role?

     20          A      No, I wouldn't phrase it that way.           I

     21    mean, I'm not an engineer, so I'm not going to be

     22    doing that.

     23          Q      Well, how would you phrase it?          What were

     24    you doing in that case?

     25          A      So I would be looking at the accumulation
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      1    of the costs related to the overall costs expended

      2    by the general contractor, various different

      3    approved or unapproved change orders, to look at the

      4    potential cost overrun of the project.

      5          Q      And what kinds of overruns were these, if

      6    you recall?

      7          A      I don't remember.       I don't remember what

      8    they specifically were in that case.

      9          Q      Do you remember generally what they were,

     10    any sense at all?

     11          A      I mean, I could speculate, based on what

     12    generally these type of cases have, but I don't

     13    remember anything specific to this case.

     14          Q      Do you remember anything at all about the

     15    nature of the overruns?

     16          A      Well, there was some, but I don't remember

     17    specifically how much or what the reasons were, the

     18    purposes were.

     19          Q      And did you give -- you said you did not

     20    give any testimony in that case; is that right?

     21          A      That's my remembrance.        I don't remember

     22    giving any testimony.

     23          Q      Did you draft a report in that case?

     24          A      I don't even remember that for sure.            I'm

     25    sure we were in the process of it, but I just don't
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      1    remember when it settled.

      2          Q      You do recall that it did settle, though,

      3    correct?

      4          A      I mean, obviously, it settled in some way.

      5    I don't remember exactly how, but I don't believe I

      6    ever was deposed.       I don't believe I ever testified.

      7          Q      Do you think you actually formed any

      8    opinions in that case?

      9          A      I mean, probably, but I don't remember

     10    exactly how those would be memorialized.

     11          Q      Did that case involve mineral interests in

     12    any way?

     13          A      I mean, I guess, yes, because there's

     14    obviously something that has to be done when you

     15    construct the site, but, again, I guess some people

     16    would argue whether there's mineral interests or

     17    not, but, it's -- you know, there's a subsurface

     18    aspect to any type of wind farm.           Let's just put it

     19    that way.

     20          Q      But were you opining on anything related

     21    to mineral interests in that case?

     22          A      I mean, no, not the way you phrased it.

     23    Obviously, there would be costs related to that

     24    particular activity, but I wouldn't be opining on

     25    the actual mining itself.
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      1          Q      And were you aware of any payments being

      2    made to the mineral interest owner in that case?               Do

      3    you recall anything about that?

      4          A      I do not.

      5          Q      All right.     Have you had any other

      6    experience with litigation matters involving the

      7    wind energy industry?

      8          A      I can't think of one.

      9          Q      Do you have any experience in the wind

     10    industry in non- -- in a non-litigation context?

     11          A      It seems like there have been a couple of

     12    cases that had wind farms on them, but nothing that

     13    I can think of off the top of my head.

     14          Q      It wasn't anything you were looking at

     15    specifically as to your engagement; is that fair?

     16          A      I mean, I would consider it was more of a

     17    peripheral aspect.       It wasn't the main aspect of the

     18    case.

     19          Q      And it wasn't anything you were

     20    specifically asked to form views on in those

     21    matters; is that true?

     22          A      Yeah, that I don't remember.          I don't

     23    remember what the attorneys may have asked me to

     24    look at in that way.        I don't remember.

     25          Q      Do you recall in any of those matters
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      1   being asked to opine on payments that might be due

      2   to mineral owners?

      3          A     No, I don't remember that aspect coming

      4   up.

      5          Q     This is the first case in which you've

      6   rendered that type of opinion; is that correct?

      7          A     No.

      8          Q     What other case have you rendered an

      9   opinion about payments due to mineral owners in a

    10    wind energy project?

    11           A     Okay.     So if we're talking about specific

    12    to wind projects, which was not your last question,

    13    I can't think of one off the top of my head.

    14           Q     All right, sir.       So we've looked at

    15    Appendix A that listed the documents that you've

    16    relied on after -- as of September 18th of 2020;

    17    true?

    18           A     It's not on the screen anymore, but, yes,

    19    that's what that document represents.             There you go.

    20    Thank you.      Yes.

    21           Q     All right.     Now, you said you've looked at

    22    the three expert reports after that, correct?

    23           A     Yes.

    24           Q     All right.     And you also said you believe

    25    you've received some other information that you
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      1          Q     I mean, you're aware that aggregate is

      2   pretty generally available in many locations, true?

      3          A     That's fair.

      4                MR. ASHWORTH:       Hey, Ryan?

      5                MR. RAY:     Yes.

      6                MR. ASHWORTH:       Do you mind if we take a

      7   quick break?      I need to use the rest room.          We've

      8   been at it for about an hour now.

      9                MR. RAY:     No, let's take a few minutes.

    10                 THE WITNESS:      Okay.    Five minutes, is

    11    that what we're saying?

    12                 MR. ASHWORTH:       That works.

    13                 MR. RAY:     Five, ten, something like that,

    14    yeah.

    15                 THE WITNESS:      Okay.

    16                 THE VIDEOGRAPHER:       We're off the record at

    17    11:02 a.m.

    18                 (A recess was had.)

    19                 THE VIDEOGRAPHER:       We're back on the

    20    record at 11:12 a.m.

    21           Q     (By Mr. Ashworth)       All right, sir.       Before

    22    we left, we were talking about some of your work at

    23    the -- I believe we were talking about Classick and

    24    Music.     What did you do in the CPA side, what was

    25    your role there?
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      1   the criticisms.

      2          Q      Do you have any that generally come to

      3   your mind, as we sit here right now?

      4          A      I would rather have the report in front of

      5   me to give you all of them.          I don't want to start

      6   giving you a partial laundry list.

      7          Q      Can you think of one example as you sit

      8   here right now, without even looking at the report

      9   in front of you?

    10           A      Well, I think broadly he misses the point.

    11    The point here in this particular situation is

    12    negotiation of a lease.         It doesn't have anything to

    13    do in my mind about what that particular mineral may

    14    be worth right there at that particular moment in

    15    time.      We're talking about damages related to this

    16    case and what the mineral right owners should

    17    receive as damages.        That's what we're talking about

    18    in this case.      So he just totally misses the point.

    19           Q      Damages for what?

    20           A      For the failure to get a lease for the

    21    mining activities that the Tenth Circuit determined

    22    was going on.

    23                  MR. RAY:    All right.     Do we have up

    24    Mr. Hazel's report, Exhibit 18?           Is that the exhibit

    25    that we have here?
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      1   full sentence from which that's quoted.              It

      2   starts -- do you see where it says, "These

      3   regulations are intended to ensure that Indian

      4   mineral owners desiring to have their resources

      5   developed are assured that they will be developed in

      6   a manner that," as they said, "maximizes their best

      7   economic interests."        Do you see that?

      8          A     Honestly, I can't see it because the

      9   screen is cut off a little bit, but I think you read

    10    it properly.

    11           Q     All right.     Do you also have an

    12    understanding that part 214 of these regulations

    13    actually specifically applies in Osage County?                You

    14    looked at some of those, did you not?

    15           A     You'll have to refresh my memory, but that

    16    sounds right.

    17                 (Exhibit 20 marked for identification.)

    18           Q     (By Mr. Ray)      All right.     Well, let's take

    19    a look at Exhibit Number 20, and if we could, let's

    20    go to page 32.       And do you see there, sir, where

    21    "Leases, among other things, must be on forms

    22    prepared by the department, and the superintendent

    23    of the Osage Indian School, Pawhuska, Oklahoma, will

    24    furnish prospective lessees with such forms at the

    25    cost of $1 per set."        Do you see that?
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      1                MR. ASHWORTH:      Object to the form.        Ryan,

      2   I can't see where you're -- what you're referring

      3   to.    Could you enlarge it so I can see where you're

      4   reading from?

      5                MR. RAY:     Yeah, it's from the first

      6   sentence there.

      7          A     I mean, I think you read it properly, if

      8   that's what you're asking, yes.

      9          Q     (By Mr. Ray)      All right.     And one of the

    10    things there is a form N, which would be a lease,

    11    except for lead and zinc, right?

    12           A     True.

    13           Q     Are you aware of any forms prepared by the

    14    Department of the Interior that would have terms

    15    like those you are proposing?

    16           A     I have no idea what you're talking about

    17    there.

    18           Q     Have you seen a form lease that would have

    19    payment terms like what you've proposed in your

    20    report?

    21           A     Are you talking about our damage

    22    calculation in our report?

    23           Q     Yes, sir, that's basically based on the

    24    terms of the surface leases that the surface owners

    25    got in this case, right?
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      1          A     True.

      2          Q     Have you seen forms prepared by the

      3   Department of the Interior that have terms like

      4   that?

      5                MR. ASHWORTH:      Object to the form.

      6          A     I don't know why they would prepare those,

      7   first of all, so I don't understand your question,

      8   but I guess, no, I haven't seen something specific

      9   like that.

    10                 (Exhibit 23 marked for identification.)

    11           Q     (By Mr. Ray)      All right.     Let's take a

    12    look at Exhibit 23.        Have you ever seen this

    13    document, sir?

    14           A     This one does look familiar.          I definitely

    15    have some similar to this, but I can't remember if

    16    it was Candy Creek or not.

    17           Q     All right.     This would appear to be a

    18    lease that was in effect in 2013 and 2014, true?

    19           A     A negotiated lease between the two parties

    20    at that time period, yes.

    21           Q     Right.    It's on a form prepared by the

    22    Department of the Interior, is it not?

    23           A     That's what it appears.

    24           Q     All right.     And it has -- in paragraph

    25    2(a) it actually has a royalty rate, correct?
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      1          A     It does.

      2          Q     And that's 51 cents per ton for all

      3   limestone and Dolomite received; is it not?

      4          A     It technically says removed, but, yes.

      5          Q     Removed -- "removed from the premises" is

      6   what it says, right?

      7          A     Yes.

      8          Q     That's what triggers payment of the

      9   royalty under this document?

    10           A     We would have to look at the whole

    11    document, but that's what this line says, yes.

    12           Q     All right.     Well, please take a look, and

    13    tell us if you -- I believe it's a two-page

    14    document, sir.       If you need to look at the entire

    15    thing to tell us if you see any other payment terms

    16    that are set out, please take a look and let us know

    17    what they are.       And I apologize.       It's actually four

    18    pages, maybe it's five.

    19           A     I'm not sure I really understand the

    20    question.     Are you trying to say what is the trigger

    21    event for a payment --

    22           Q     Yes, sir.

    23           A     Is that what your question is?

    24           Q     I'm trying to ask you if there's anything

    25    other than the removal of limestone or Dolomite?
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      1          A     That would cause a payment?

      2          Q     Yes, sir.

      3          A     Okay.    Can you go to the next page?          Okay.

      4   Keep going.      Keep going.     So I think your question

      5   is, is the removal of the limestone and Dolomite the

      6   triggering for the royalty?          I agree with you.

      7          Q     Nothing else that triggers a payment in

      8   this form prepared by the Department of Interior?

      9          A     I think that's fair.

    10           Q     All right.     Let's go back to Exhibit 20,

    11    and we'll take a look at page 12.            Now, do you see

    12    subsection (d), sir?

    13           A     You said B as in boy or D as in dog?             Oh,

    14    D?   Okay.

    15           Q     D as in, yeah, Delta.

    16           A     Okay.

    17           Q     All right.     Are you -- there was no gold,

    18    silver, copper, lead, zinc, coal or asphaltum at

    19    issue in this case, true?

    20           A     Correct.

    21           Q     All right.     So this provision actually

    22    requires a royalty rate for those substances for

    23    "10 percent of the value at the nearest shipping

    24    point of all ores, metals or minerals marketed,"

    25    correct?
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      1   required in subsection (d) for these materials?

      2          A     You'll have to do that one again.            Can you

      3   say that one again?

      4          Q     Is there anything else in this regulation

      5   that would contemplate any different kind of royalty

      6   for the substances at issue in this case, other than

      7   that in subsection (d)?

      8          A     Well, sure.      I mean, again, the Indian

      9   Nation didn't want the development at all, so we're

    10    talking about leases that the Nation wants.               Well,

    11    they don't want this development, so if you're

    12    trying to say that you have to charge us royalty in

    13    every single possible situation, that doesn't make

    14    sense to me.

    15           Q     My question, sir, is specific to

    16    subsection 210 of the Code of Federal Regulations,

    17    and my question is whether anything in this

    18    regulation contemplates a royalty for the substances

    19    at issue here, other than that set forth in

    20    subsection (d)?

    21                 MR. ASHWORTH:      Object to the form.

    22           A     Well, first of all, this is 214.10(d), not

    23    what you said, but second of all, if there's a

    24    negotiated lease for these, is this royalty

    25    required, the answer is yes.
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      1          Q     And are you highly qualified in all of

      2   those areas?

      3          A     Yes.

      4          Q     All right.     As it relates to wind, I

      5   believe I understood you earlier that you've been

      6   involved in one case involving wind energy that

      7   involved construction overruns, correct?

      8          A     No, that's not what I said.

      9          Q     All right.     What other wind energy

    10    projects have you been involved in?

    11           A     Again, as we talked about previously,

    12    there was the one case we talked about in detail.                I

    13    believe there was other cases where there was wind

    14    farms as part of the development, but was not the

    15    focal aspect of that particular case.

    16           Q     You certainly didn't analyze anything

    17    about mineral leases in those cases specific to wind

    18    farms, true?

    19           A     I don't remember that being a dynamic in

    20    those cases, correct.

    21           Q     And you've never actually done that at all

    22    before this case, true?

    23           A     Sure.

    24           Q     All right, sir.       Let's take a look at the

    25    third page of Exhibit Number 24.            Is this a budget
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      1   research; can you describe for us what kind of

      2   industry research was done?

      3          A     Trying to think of an example, just bear

      4   with me a second here.         I guess a good example would

      5   be that we did some research related to the life

      6   cycle of a wind turbine.

      7          Q     Okay.    Any other examples that you can

      8   think of?

      9          A     Off the top of my head, I think we did

    10    some analysis related to wind projects related to

    11    their cost structure.         I think we did some research

    12    related to the discount rates, to their rates of

    13    return, to their revenue sources, to their

    14    agreements with electrical providers, those types of

    15    things.

    16           Q     And did your research reveal any other

    17    instance in which mineral owners were paid the same

    18    as surface owners in a wind energy project?

    19           A     I don't think the research spoke to that,

    20    no.

    21           Q     Are you aware of that occurring anywhere

    22    else in the United States of America?

    23           A     Again, that's not what we're doing here,

    24    so I'm not sure why you're saying that, but I'm not

    25    aware of that specific dynamic happening.
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                                        46
      1          A     Well, first of all, there's historical

      2   amounts that would not have a present value, so it's

      3   looking at the overall amounts that would be

      4   received by the six surface owners.

      5          Q     Over the entire life of the project?

      6          A     Well, not technically over the entire life

      7   of the project, over the initial period.              It does

      8   not include the renewal time frame.

      9          Q     Your calculations do not include the

    10    renewal time frame?

    11           A     Correct.

    12           Q     Because it wouldn't be appropriate to

    13    include those, because we don't know if the renewal

    14    is going to happen or not, right?

    15           A     I would disagree with that.          We were just

    16    being conservative by just using the additional time

    17    frame.     Technically, you would add the probability

    18    of the lease being extended, which is pretty likely,

    19    but we're talking about out in the future, so it

    20    would be present valued back.

    21           Q     And how do you know it is likely that the

    22    lease will be extended?

    23           A     Based on any renewable project, they want

    24    the project as long as possible.            Now, obviously,

    25    things can change in the industry at that time,
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                                        46
      1          Q     (By Mr. Ray)      All right.     Let's take a

      2   look at Exhibit 26, if we could.            Have you seen this

      3   document before?

      4          A     It does look familiar.         I don't remember

      5   what context I saw this in, but it does look

      6   familiar.

      7          Q     And did you understand that IEA Renewable

      8   Energy was the contractor that constructed this

      9   project?

    10           A     I actually thought it was a different name

    11    that was spelled out, but I'm not trying to disagree

    12    with you.     They could be the same entity.

    13           Q     Well, whoever they are, it clearly appears

    14    that they purchased some aggregate from Dewey,

    15    Oklahoma, correct?

    16           A     That's what it appears, yes.

    17           Q     This was ordered on December 16th, 2014,

    18    right?

    19           A     Yes.

    20           Q     That's during the construction period;

    21    yes?

    22           A     Sounds right, yes.

    23           Q     All right.     And it says, if we look in the

    24    bottom sort of left hand there, it says, "Delivered

    25    to Osage Wind project," right?
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                                        46
      1          A     It does.

      2          Q     So it certainly appears that aggregate

      3   was, in fact, purchased for this project from

      4   another source; yes?

      5          A     That's what it appears.

      6                (Exhibit 27 marked for identification.)

      7          Q     (By Mr. Ray)      Let's take a look at Exhibit

      8   27, if we could.       Have you seen this document

      9   before, sir?

    10           A     This one does not look familiar, but,

    11    again, it's a similar purchase order to the previous

    12    one.

    13           Q     And it certainly indicates a number of

    14    hard mineral type materials were purchased for the

    15    Osage Wind farm; do you see that?

    16           A     Yeah.    I mean, I guess we should be

    17    careful about using the word, hard, in that

    18    particular context, but there are various different

    19    materials purchased here, yes.

    20           Q     Which one of them do you not define as

    21    hard, if any?

    22           A     Well, I mean, again, I'm not trying to be,

    23    you know, argumentative, but most people would

    24    consider clay and fill, they wouldn't necessarily

    25    consider that a hard mineral.
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                                        46
      1   we're on the right page.

      2          A     Oh, yeah, you're on page 10 still, sorry.

      3   "Based on the above descriptions," that's the one

      4   you talked about?

      5          Q     Yes, sir.

      6          A     I see that.

      7          Q     How is it the case, sir, that the mineral

      8   estate is at least as integral as the surface estate

      9   to the construction of the wind farm?

    10           A     Yes.

    11           Q     Explain how that is so.

    12           A     Well, I mean, we've already talked about

    13    that many times today, that their damages are

    14    probably at least what the surface estate -- I

    15    believe you even agreed with me a couple of times

    16    that the mineral estate is typically more valuable.

    17    The bottom line here is, if you can't anchor down

    18    that wind turbine, it's worthless.

    19           Q     So is that -- so is it the anchoring of it

    20    in the subsurface that is the basis of your

    21    conclusion there?

    22           A     No.    I'm just giving you an example of

    23    something that has to have all the different aspects

    24    of the equation.       You can't just set it on top of

    25    the surface.
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                                        46
      1   right, right?      And you've seen that before, haven't

      2   you?

      3          A      I don't think I necessarily -- again, I

      4   shouldn't be making legal conclusions like this or

      5   interpretations.       I don't read that that way, but if

      6   a judge or another lawyer says that's the

      7   interpretation of that language, that's fine.               I'm

      8   not interpreting it one way or the other.

      9          Q      So it is your conclusion, sir, that the

    10    mineral owners should receive a lease on these --

    11    the terms, the same as Exhibit 28; is that correct?

    12                  MR. ASHWORTH:     Object to the form.

    13           A      I mean, no, that's not what my report

    14    says.      I mean, first of all, they may not want it at

    15    all, so there should be no wind farm there.               So

    16    that's the first option.         So, basically, now that

    17    there is a wind farm there, do they have to tear it

    18    up?    Let somebody else decide that.          But at this

    19    point they have to have approval, being Osage Wind

    20    has to have the approval of the mineral estate

    21    owners, so why would they accept anything less than

    22    what the surface owners got?           It doesn't make any

    23    sense.      They would want at least that amount, if not

    24    more, because, again, as you've agreed with me a

    25    couple of different times, the mineral estate is
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                                        46
      1   being damaged the whole time frame when the wind

      2   farm is there.       That's the damages component.

      3                 MR. RAY:    Move to strike as nonresponsive.

      4          Q      (By Mr. Ray)     My question again, sir, is,

      5   do you have any evidence that mining occurred after

      6   the construction period ended?

      7          A      Again, you've asked me that question

      8   multiple times.       I've told you that I don't have any

      9   specific information, because I haven't looked into

    10    that.      I already told you a bunch of times it's not

    11    relevant to me.       That's not the calculation we made.

    12           Q      Are you aware, sir, of any other instance

    13    in which a mineral owner is paid other than for the

    14    production of minerals from the mineral estate?

    15                  MR. ASHWORTH:     Object to the form.

    16           A      I mean, there are situations, especially

    17    in the oil and gas, where people are paid for other

    18    than the extraction itself, because they need other

    19    types of either pipelines or houses or whatever they

    20    need to basically do the overall production of that

    21    mineral, which is not specific to the mineral

    22    itself.

    23           Q      (By Mr. Ray)     So in the oil and gas

    24    context, there often are payments to hold it for

    25    future production, right?
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                                        46
      1          Q     The regulations you reviewed in this case,

      2   that were at issue in the Tenth Circuit --

      3          A     I guess I'm not following the question.

      4   what do you mean?

      5          Q     The regulations that were at issue in the

      6   Tenth Circuit opinion; you understand that, right?

      7          A     They mention certain particular statutes,

      8   yes, but, again, they defined what they considered

      9   mining in this particular context.

    10           Q     And it was that activity that required a

    11    lease, right?

    12                 MR. ASHWORTH:      Object to the form.

    13           A     They're required to get a lease to do

    14    those activities.        If they can't do those

    15    activities, they can't have a wind farm.              That's

    16    what they're basically saying.

    17           Q     (By Mr. Ray)      And what do you base that

    18    conclusion on, that they -- if they can't do those

    19    activities they can't have a wind farm?

    20           A     Well, because they constructed it that

    21    way, so they must have felt it necessary to do it.

    22           Q     Well, we've already seen, sir, in Exhibits

    23    26 and 27 that these materials were available for

    24    purchase from other locations, right?

    25           A     Then they should have done that broadly.
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                                        46
      1   that.      That's not my place.

      2          Q      But they certainly would have been --

      3   wouldn't have been extracting rock, sorting rock,

      4   crushing rock, and reusing rock from this area,

      5   true?

      6                 MR. ASHWORTH:     Object to the form.

      7          A      Again, I don't know what they exactly

      8   would have done, because that didn't occur.

      9          Q      (By Mr. Ray)     But you know and understand

    10    that aggregate is readily available for commercial

    11    purpose -- purchase, do you not?

    12           A      You had to have asked that question at

    13    least 10 times now, so we're not disagreeing on

    14    that.      They have access to it.       They just didn't do

    15    it that way.

    16                  MR. RAY:    We've been going about an hour.

    17    I'd like to take a rest room break, unless anyone

    18    has an objection.

    19                  Is that okay with you, sir?

    20                  THE WITNESS:     Sure.    You're the boss.

    21                  THE VIDEOGRAPHER:      We're off the record at

    22    2:11 p.m.

    23                  (A recess was had.)

    24                  THE VIDEOGRAPHER:      We're back on the

    25    record at 2:27 p.m.
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                                        46
      1   would be, of course, on the same terms, but if

      2   you're asking whether they had been bifurcated or

      3   separated, which is relatively unique, I can't think

      4   of one specifically where they would have the exact

      5   same terms.

      6          Q     Is there any scholarly literature or

      7   anything like that that you reviewed that indicated

      8   that was an appropriate way of determining payments

      9   to mineral owners when a wind farm is constructed?

    10           A     I mean, it's just standard damage theory,

    11    so I would think any treatise or document related to

    12    damages would look at it that way.

    13           Q     Specific to wind energy?

    14           A     Specific to wind energy.         No, they don't

    15    get specifically, typically, to a specific industry.

    16    I haven't seen any type of treatise that gets that

    17    specific.

    18           Q     And have you read any literature that

    19    indicates that a mineral owner should be paid for

    20    mining, other than based on the minerals mined?

    21           A     Well, I mean, that's not the dynamic here.

    22    Again, you have to get a lease to basically build

    23    the wind farm.       It's not a matter of paying for the

    24    minerals.     You're building a wind farm, so I don't

    25    understand your question.
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                                        46
      1          Q     Well, we looked, sir, already at the Tenth

      2   Circuit opinion that clearly said it was the

      3   extraction, sorting, crushing, use of minerals that

      4   required a lease, right?         We looked at that?

      5                MR. ASHWORTH:      Object to the form.

      6          A     I agree.

      7          Q     (By Mr. Ray)      And there was nothing in the

      8   opinion that just said generally to construct a wind

      9   farm, you have to have a lease, true?

    10                 MR. ASHWORTH:      Object to the form.

    11           A     I don't understand that question.            I mean,

    12    we're talking about this specific case.              They had

    13    mining activities, so, therefore, they're required

    14    to have a federally recognized lease, so, therefore,

    15    they can't build it until they get the lease.

    16           Q     (By Mr. Ray)      Right, but there's no mining

    17    going on out there right now?

    18                 MR. ASHWORTH:      Object to the form.

    19           A     Yeah, we've covered that ground at least

    20    ten times, so I don't know why it matters.              It

    21    doesn't matter.       They're still being damaged every

    22    day the wind farm is there.

    23           Q     (By Mr. Ray)      And how is that?

    24           A     How is what?

    25           Q     How are they being damaged every day that
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                                        46
      1   conclusion, so I would not make that opinion.

      2          Q     (By Mr. Ray)      So you're not rendering that

      3   opinion in this case, true?

      4          A     If you're asking about the legal opinion,

      5   absolutely not.       I'm not a lawyer.       That's not my

      6   place.

      7          Q     Let's go back to your report, sir, page 7.

      8   I believe that's Exhibit 18.           And you reference, as

      9   we've seen, sir, that "the surface leases represent

    10    a directly comparable proxy for amounts that Osage

    11    Wind itself was willing and able to pay."              Do you

    12    see that?

    13           A     Yes.

    14           Q     And what would they have been paying for?

    15           A     The right to obtain that lease.

    16           Q     And they needed the lease to do what?

    17           A     To construct -- ultimately, to construct

    18    the wind farm because, again, the way they did it,

    19    they would need to have that lease to basically do

    20    the complete project.

    21           Q     Did any of the regulations you looked at,

    22    sir, make reference to constructing a wind energy

    23    project?

    24                 MR. ASHWORTH:      Objection to form.

    25           A     I mean, I don't remember a specific one
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                                        46
      1   suggest they were different from others that were

      2   constructed on land?

      3          A     I mean, again, if you have a construction

      4   on a hilly side versus a mountain versus a flat

      5   land, of course, it's going to be different.               The

      6   construction aspects are going to be different.                So

      7   it is what it is.        You do the construction based on

      8   the specific topography of the land that you have.

      9          Q     And did you, sir, see any sources of

    10    material or have any knowledge, other than your

    11    opinion in this case, of surface owners and mineral

    12    owners being paid the same amounts for a wind

    13    project?     Is there any other project you can

    14    identify for us like that?

    15           A     Again, that's not my opinion in this case.

    16    We're talking about it's similar to that, and we're

    17    being conservative, but I have not seen that

    18    specific dynamic, because, again, generally the

    19    mineral estate gets more than the surface estate.

    20           Q     Are you aware of any wind energy project

    21    where the mineral owner has received more than the

    22    surface owner?

    23           A     I'm not aware of that, because, typically,

    24    they're the same people.

    25           Q     Let me ask you this, sir, are you aware of
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                                        46
      1   a coal mine where the surface owner gets paid more

      2   than the mineral owner?

      3          A     I'm not aware of that.         Is it possible

      4   that occurs, it's possible.

      5          Q     And, sir, what is the basis for your

      6   conclusion that the amounts paid to the surface

      7   owners are a directly comparable proxy to what

      8   should have been paid to the Osage Nation here?

      9                MR. ASHWORTH:      Object to the form.

    10           A     This negotiated deal between the various

    11    parties is exactly the same land in question.               One

    12    is the subsurface, one is the surface, so they're

    13    very close in proximity to each other.             It's all the

    14    dynamics to make it the best approximation of the

    15    minimum amount that the mineral estate owner should

    16    receive.

    17           Q     (By Mr. Ray)      You understand that in most

    18    cases the mineral owner and the surface owner are

    19    paid differing amounts based on what's occurring,

    20    are you not?

    21                 MR. ASHWORTH:      Object to the form.

    22           A     Well, that question makes no sense, so, I

    23    mean, do you want me to try to answer that?

    24           Q     (By Mr. Ray)      Well, let me start with an

    25    example, sir.      So how about oil and gas, if we have
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                                        46
      1   who has the rights to grab those or not, no.

      2          Q     Let's look, sir, at one specific category

      3   of your report, and that will be on page 11 of your

      4   report.

      5          A     Okay.

      6          Q     And that is pasture damages; do you see

      7   that?

      8          A     I do.

      9          Q     And you state there that that is a payment

    10    equal to $28 per acre related to pasture/forage

    11    grass actually destroyed or damaged; do you see

    12    that?

    13           A     Yes.

    14           Q     All right.     Now, did the mineral estate

    15    owner have any rights in pasture or forage grass?

    16           A     No.

    17           Q     So how is it that they should receive a

    18    payment that is for only forage grass actually -- or

    19    pasture grass actually destroyed?

    20           A     Because we're looking at the overall

    21    equation, first of all, and there would be similar

    22    dynamics to the subsurface of things that were

    23    affected.     They would just use different semantics,

    24    a different way of calling it, but it would have the

    25    same type of category of damages.
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                                        46
      1          Q      Do you know the circumstance under

      2   which -- do you know the circumstances under which

      3   pasture or forage grass was actually destroyed in

      4   this situation?

      5          A      Oh, I think there was some information

      6   about that, but I don't remember the specifics.

      7          Q      So do you know for a fact that that

      8   implicated any right of the mineral owner?

      9          A      Again, it's not -- I'm not trying to get

    10    that precise.      The situation here is we have a

    11    proxy.      So they would use different semantics, and

    12    we fully agree with you, it's for -- basically,

    13    that's more appropriate to subsurface, but they're

    14    going to negotiate similar types of payments over

    15    time for the dynamics that are specific to

    16    subsurface.

    17           Q      And what would you use as the similar

    18    subsurface comparable, if you will, to the pasture?

    19           A      I haven't thought about that.          I don't

    20    know.      I would have to think about that.

    21           Q      Yet, you, in fact, have concluded that

    22    those payments are due as a part of your analysis,

    23    true?

    24           A      I've already explained to you why we did

    25    that.
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                                        46
      1   able to pay the surface owners?

      2          Q     Well, do you know whether that -- that

      3   additional amount would make the project

      4   economically viable or not?          Do you know that, for

      5   example?

      6          A     They would have to decide that and decide

      7   if they want to produce the property at all and not

      8   put a wind farm here at all, but they should have

      9   determined that on the front end, not the back end.

    10           Q     But is there anything, sir, other than the

    11    fact that payments like that were made to the

    12    surface owners that you base that conclusion on?

    13           A     I think it's all the facts and

    14    circumstances in this case.          It's based on the

    15    financial performance, it's based on all of the

    16    documentation in the record, that they should get a

    17    similar amount to the surface owners and actually

    18    probably get more.

    19           Q     But you're not aware of any other wind

    20    energy project in the United States where a separate

    21    mineral owner has even been paid anything, are you?

    22                 MR. ASHWORTH:      Object to the form.

    23           A     Again, this is a little bit different

    24    dynamic in that case.         So Osage Wind, it's their

    25    requirement to understand all the things they have
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                                        46
      1   clearly.      I don't think it's clearly at all.           It has

      2   ten years in there, so it clearly says 10 years, but

      3   it talks about absent specific lease provisions.                In

      4   the next sentence it talks absent specific lease

      5   provisions to the contrary.          I mean, it has all

      6   sorts of different caveats just in that first

      7   paragraph alone.

      8          Q      (By Mr. Ray)     Sir, does the absent

      9   specific lease provisions to the contrary relate to

    10    the term?

    11                  MR. ASHWORTH:     Object to the form.

    12           A      You tell me.     You're the lawyer.       I don't

    13    know.      I'm not making legal conclusions.

    14           Q      (By Mr. Ray)     You just don't -- you don't

    15    know how long that a term of a lease can be

    16    permitted to be under these regulations?

    17                  MR. ASHWORTH:     Object to the form.

    18           A      I honestly don't care, because I'm talking

    19    about the damages, so you can interpret it any way

    20    you want.      It's not going to change my conclusion.

    21           Q      (By Mr. Ray)     I believe you said earlier,

    22    sir, that you do not ascribe any damages to the

    23    renewal term.      Did I understand you correctly there?

    24           A      We didn't specifically calculate the

    25    renewal term, correct.
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                                        46
      1                MR. RAY:     All right.     Let's go back to

      2   Mr. Hazel's report, if we could, and if we could go

      3   to page 19.      That's Exhibit 18.

      4                THE VIDEOGRAPHER:       You did say Mr. Hazel's

      5   report?

      6                MR. RAY:     I did.    Exhibit 18, please.

      7                THE VIDEOGRAPHER:       One moment.      I've got a

      8   technical issue here.         For some reason it is not

      9   displaying.      Could we go off the record for a

    10    moment, please?

    11                 MR. RAY:     Certainly.

    12                 THE VIDEOGRAPHER:       We're off the record at

    13    3:30 p.m.

    14                 (A recess was had)

    15                 THE VIDEOGRAPHER:       We're back on the

    16    record at 3:30 p.m.

    17           Q     (By Mr. Ray)      All right, sir.       This is on

    18    page 19 of your report.         It certainly appears to me

    19    that you have calculated, about halfway through

    20    table 7, future operating fees for the renewal term

    21    period.     Do you see that?

    22           A     Yeah, I stand corrected, you're right.             We

    23    did include the 20 years at the discounted amount,

    24    you're right.

    25           Q     So should that be removed?
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      1          A     No, I mean, it is what it is.           It's based

      2   on the time period of 2036 to 2056.            We've already

      3   risk adjusted, so it's still a fair calculation.

      4          Q     And how is it risk adjusted?          Explain that

      5   to me, sir.

      6          A     Okay.    Sorry, because we didn't just use a

      7   pure time value money, we used a risk adjusted rate.

      8          Q     And what was the -- what was the risk

      9   adjustment?

    10           A     I don't know what you're asking there.

    11           Q     You said you used a risk adjusted rate;

    12    yes?

    13           A     Yes.

    14           Q     How did you determine the risk adjusted

    15    rate?

    16           A     The same way we considered the discount

    17    rate in the other future operating fees, based on a

    18    proxy of ocean, winds, cost of capital, plus an

    19    add-on.

    20           Q     And did you take into account if these

    21    additional amounts were owed how that would affect

    22    the calculation?

    23           A     Sorry, you cut out on me again.

    24           Q     I'm sorry.     Did you take into account if

    25    these additional amounts were owed how that would
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      1   asked to look into.        So, I mean, again, she says

      2   what she says, and it is what it is.             I don't agree

      3   it's an inaccurate valuation.           I don't agree it's an

      4   inaccurate calculation of damages basis situation.

      5   I don't agree that it's a disproportionate windfall.

      6   How can it be a windfall?          It's exactly the same

      7   thing as the surface owners got.            How could it be

      8   possibly a windfall?        That makes no sense

      9   whatsoever.      So all of those dynamics, I just

    10    disagree, because I stand by my report.

    11           Q      But you can't name for us, sir, any other

    12    instance in which any other mineral owner has

    13    received a penny for a mineral -- for a wind farm,

    14    can you?

    15           A      But again, in this case, they have to get

    16    a lease, so that's irrelevant.           They have to get a

    17    lease.      So they have to negotiate the lease with the

    18    Osage Nation to basically get this wind farm in

    19    place.      My understanding, the Osage Nation would

    20    have said no.      Absolutely no is what they would have

    21    said.      So now you're in a dynamic where you have to

    22    negotiate a lease with somebody that doesn't even

    23    want to do what you want them to do.             So again, it's

    24    a very reasonable proxy to the damages in this

    25    particular case.
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      1          Q     So why couldn't it be more?

      2          A     I've already said it probably is more, but

      3   I'm trying to get to the best, conservative proxy of

      4   the damages for this particular case.

      5          Q     But you're not aware of any other mineral

      6   owner being paid in this way, correct?

      7          A     Again, it doesn't matter.         This particular

      8   case is somewhat unique.         They don't want a wind

      9   farm there.      I don't know how I can get that through

    10    to you.     They do not want a wind farm there.            So now

    11    you're negotiating with a party that doesn't want to

    12    do what you're doing.         How do you think that

    13    negotiation is going to go?

    14           Q     The question, sir, is not about relevance.

    15    The question is whether you are aware of any other

    16    mineral owner that has been paid in this way?

    17           A     Again --

    18                 MR. ASHWORTH:      Object to the form.

    19           A     -- I have not looked into that fully.             It

    20    doesn't matter to me.         I'm looking at the facts and

    21    circumstances of this case.

    22           Q     (By Mr. Ray)      Are you aware of anyone

    23    other than you in a published article, a court case,

    24    anywhere else that advocates for paying a mineral

    25    owner for a wind energy project in the way you do?
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      1          A     Again, I don't think I published anywhere,

      2   so I don't know what you're asking there.              So do I

      3   have a specific case with exactly these same facts

      4   and circumstances, no.         Are there similar cases that

      5   speak to this, yes.        So again, the judge or jury is

      6   going to have to decide that.

      7          Q     What similar case speaks to this, in your

      8   opinion?

      9          A     I didn't say there's a similar case.             I

    10    said there's other cases that speak to this.               I'm

    11    not a lawyer.      I haven't investigated all the cases.

    12           Q     Are you aware of even one?

    13           A     There was a couple of cases that were

    14    talked about, trying to remember the names.               I think

    15    one was Millsap that was part of the -- because I

    16    don't know if it's specific to this dynamic we're

    17    talking about.       I think there's one called like

    18    DeVilla is another case.         There was various

    19    different cases that the counsel had referenced and

    20    kind of told me how the cases came out to basically

    21    inform that opinion where it's a reasonable

    22    calculation of the damages.

    23           Q     Did Millsap versus Andrews involve a wind

    24    energy project?

    25           A     Again, I don't remember the specific of
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      1   the case, so I can't answer that.

      2          Q     Did the DeVilla case involve a wind energy

      3   project?

      4          A     Again, I'm not sure how that's relevant,

      5   but I don't remember one way or the other.

      6          Q     It was a case you said informed your

      7   conclusion in that regard; yes?

      8          A     I didn't say that.

      9          Q     All right.     Did you rely on Millsap versus

    10    Andrews in any manner?

    11           A     I'm just answering your questions.            I

    12    don't think I would say I relied upon them, because,

    13    again, I'm not a lawyer.         You asked if there's other

    14    similar cases that might have formed your opinion

    15    about damage calculations.          I gave you the best

    16    answer I could.       I don't remember the specific of

    17    those cases.

    18           Q     Can you tell us anything about the

    19    specifics of those cases?

    20           A     You could pull them up, and we could read

    21    them together.       I've read them before.

    22           Q     No.   My question is your recollection as

    23    we sit here right now?

    24           A     I've tried to give you my best remembrance

    25    of what I read.
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      1          Q     Can you tell us anything at all about the

      2   DeVilla case?

      3          A     Again, you keep asking me the same

      4   question over and over and over again.             I've already

      5   tried to answer that.         I don't remember any

      6   specifics about the case.          I was trying to answer

      7   your other question.        I tried to give you examples.

      8          Q     Did you say, sir, awhile ago that you have

      9   not been published anywhere?

    10           A     In this --

    11                 MR. ASHWORTH:      Object to the form.

    12           A     -- particular case, I haven't been

    13    published anywhere, because, of course, I haven't

    14    testified in this matter.

    15           Q     (By Mr. Ray)      And can you identify any

    16    source, other than you, that would say the mineral

    17    owners and the surface owners should be paid in the

    18    same way if mining occurs contrary to these

    19    regulations?

    20           A     Again, any damage treatise or textbook or

    21    whatever would talk about the comparable analysis we

    22    did.    So all of those treatises and textbooks would

    23    be similar to this dynamic.

    24           Q     And they would say you would need some

    25    kind of a comparable, correct?
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      1          A     Which we have here.        We have a comparable

      2   for the same property, for the same time period, for

      3   the same project.        All those different things are

      4   the same.

      5          Q     It's just a payment that's not based upon

      6   mining production in any way?

      7          A     Okay.    I understand your position there,

      8   but again, that's not what I calculated.

      9          Q     And what are you calculating?

    10           A     If you don't have that figured out by now,

    11    we're going to be here a while.           I've calculated the

    12    damages to the mineral estate, based on the surface

    13    owners as a proxy for the damages to the mineral

    14    estate owner.      I've already said it's kind of a

    15    conservative.      I've already said it probably should

    16    be more, but I've tried to make a reasonable and

    17    credible calculation based on the facts and

    18    circumstances of this case.

    19           Q     And by what methodology, sir, do you

    20    conclude that that is an appropriate proxy in this

    21    type of circumstance?

    22           A     Based on all my years of training, based

    23    on every single textbook and treatise I've looked

    24    at, based on everything I've done in my whole

    25    career.
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      1          Q     But you can't point out a single one of

      2   those that says that mineral owners and surface

      3   owners are paid the same in wind energy development;

      4   true?

      5          A     I don't believe any textbook would be that

      6   specific to the industry.          Plus the other dynamic;

      7   it's not done that way.         We're damage experts.

      8   We're not -- there's not going to be a book that

      9   says blank like that.         It's not going to happen.

    10           Q     Is the only reason, sir, that you contend

    11    that the surface leases are a better proxy than

    12    actual mineral production in this county because you

    13    believe the Osage Nation was opposed to the project?

    14           A     Is that the only reason?

    15           Q     Yes.

    16           A     Is that what you asked?

    17           Q     Yes, sir, that's what I'm asking.

    18           A     I don't think it's the only reason.            I

    19    think it's a big reason, but again, they went about

    20    doing their construction regardless of what the

    21    Osage Nation wanted or didn't want and, basically,

    22    created it, so now they have to compensate them for

    23    their damages.

    24           Q     Are there any other reasons that you

    25    believe the surface payments are an appropriate
